Case 1:17-cv-01151-Gi\/|S Document 64 Filed 05/07/18 Page 1 of 4 Page|D #: 390

 

 

 

 

 

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stinon oN: ccnv A. FETTERMAN MANNE~R oi= senvic£: RuLE 4'5, FE`D'ERAL civiL RuLE

ACCEPTED BY: Cory A. Fet_tei'man
RELAT|ONSH|P/`HTLE: individuai

SERVING: SUBPGENA TO PROUUGE, EXH¥B!T

 

 

 

 

SERVED B`Y l
Bern'ard Garnett ,T|TLE pR 3 ’ -.'E
DECI.ARAT|ON OF SERVER
Descriptron of Person Receivlng Doourrient(s):
SEX\ Ni AGE: 45 i~iEth-iT: 5'7" WEIGHT' 170 LbS SKiN: Wf'_\j HA|R'. Red OTHER. Giasse$

 

 

[X] To the best of my knowledge said person was not engaged in the U.S. Mititary at the time of service
l declare under penalty of perjury under the laws of the Uniteci States of Arnerica that the foregoing information contained in
this Certiticailon of Servioe is true and correct.

SiGNATuRE oi= Bernard Garnett

 

GUAR'ANTEED SUBPO`ENA SERViCE. lNC.
2009 MORRIS AVENUE
UN|ON. NJ 07083

EXECUTED ON:

ATTORNEYZ SALLY DAUGHERTY, ESQ
PLA|NT|FF: SUZANNE DAKES|AN
DEFENDANT§ WiLLiAM SCHELL. iV, ET At_
VENUE. DiSTR|CT

DOCKET: 17 CV 01151 GlV|S

FEE. 0.00

 

Ruie 45. Federai Rules of Civil Proceduro. Parts C 81 D:

(c) PROTECT|ON OF PERSONS SUBJECT TO SUBPOENAS

(1) A party or en attorney responsible for the issuance and service ot a subpoena shall take
reasonable steps to avoid imposing undue burden or expense on a person subject to that
subpoena. The court on boheil ot which the subpoena was issued shell enforce this duty and
impose upon the party or ettomoy in breach of this duty nn appropriate sanction, which may
inciude, but nol limited to, lost earnings end a reasonable attorney's fee.

(2)(A) A person commanded tro produce and permit inspection end copying of designated
books, papers, documents or tangible things. or inspection of premises need not appear in
person al the place of production or inspection unless commanded to appear ior deposition,
hearing or triat.

(B) Subject to paragraph (d)(2) cl this rute, person commanded to produce and permit
inspection and copying may. within 14 days alter service ot the subpoena or before the time
specified for compliance ii such time is less than 14 days alter service, servs upon the party
or attorney designated in the subpoenewriiten objection to inspection or copying of any or eli
ot the designated materials or of the premises ii objection re mede. lite party sewing the
subpoena shall not be entitled to inspect and copy the materials or inspect the premises
except pursuant to on order of the court by which the subpoena was issued. it objection has
been made_ the party serving the subpoena mey. upon notice to the person commanded to
produce move at any time ior an order to compel the productionl Suoh an order to compel
production shall protect any person who is not a party or an offloerol a party from significant
expense resulting from the inspection and copying commanded

(3)0\) On timely motion-. the court ’by which a subpoena was is's'ued shot quash cir modify the
subpoena if it

(i)‘fails' to allow reasonablottime for compliance

(iil requires a person whois note partyor en officer of o party to travel tea place more then
100 miles from the piece wfiere~tiiat person resides,is employed or regularly transacts
business in person,

except thet. subject lo trio provisions ot clause (c)($)(B)(i"ii) of this ruie, such a person
may in order to attend trial be commanded to travel from any such piece within the state
inwhich the trial is heid. or

(iii) requires disclosure of privileged or other protected matter and noexception or
waiver applies or

(iv] subjects a person to undue burden

(B) ita subpoena

(i) requires disclosure of a trade secret or other confidential research, development or
commercial informationl or

(ii) requires disclosure ol en unrelalned experts opinion or information not describing
specific events of occurrences in dispute and resuliing from the export‘s study made not
at the request of any party_ or

(iii) requires a person who is not a party or an officer ore party to incur substantial
expense to travel more than 100 miles to attend lriai. the court may. to protect a person
subject to or affected by the subpoena, quash or modify the subpoena or, it the party in
whose benoit the subpoena is issued shows a substantial need for the testimony or
material that cannot be otherwise met without undue hardship and assure that the
person to whom the subpoena is addressed witt be reasonably compensated the court
may order appearance or production only upon specified conciiions.

(d) DUTIES iN RESPO`ND|NG TO SUBPOENA.

(‘l) A person responding to a subpoena to produce documents sth produce them as
they are kept in the usual course of business or shall organize and label them to
correspond with the categories in the demand

(2) Wlten information subject to at subpoena is withheld on a claim that tt is privileged
or s®iect to protection es;»iri`;i preparation materials the claim shall be made expressly
and snel be supported by a descriptioan lite nature or the»docurpentp,
conuriumce_tmns, or'things not produced lhai'is‘sutiiclent to enable the demanding party
to contest the claim

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AO 88B (Rcv 02/14) Subpoena to Produce Documents, Information, or Objccts or to Fermit lnspectton of Premises in a Civil Action
_______________________r

UNITED STATES DISTRICT COURT

 

 

 

 

for the
District of Delaware
Suzanne Dakesian )
Plaintrjf )
V' ) civil A¢tion No. 17-01151-GMS
V\h||iam Schell, lV, et a|, )
)
Dejéndant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To; Cory A. Fetterman, Fetterman Agency, lnc.l 200 N. Rehoboth Blvd., Milford, DE 19963

 

(Name of person to whom this subpoena is directed)

6 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material;See documents identified on attached Exhibit "A"

 

Place: salmon, Ricchezza, singer a Turchi, LLP, 222 Date and Time=
Delaware Ave., 11th F|oor, Wllmlngton, DE 19801 04/30/2018 10:00 am

 

 

 

 

Cl lnspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time: `_.

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 04/10/2018
CLERK OFCOURT
OR MM
j

Signature ofClerk or Deputy Clerk / 011 Attorney '.Arignature `U

 

 

 

 

 

The name, address, e~mail address, and telephone number of the attorney representing (name ofparg») McC_ulley Eastman

& Associates. |nc. , who issues or requests this subpoena, are:

Sal|y Daughertyl Salmon, Ricchezza, Singer & Turchi, LLP, 222 Delaware Ave., 11th F|., Wllmington, DE 19801

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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EXHIBIT “A”

1. All documents, correspondence, and/or communications between your
agency and World Championship Punki.n Chunkin Association, World Champion
Punkin Chunkin lnc., Punkin Chunkin Association, F rank Peyton, Frank Shade,
Terry Brewster and/or David Quigley, regarding securing insurance for the 2016
World Championship Punkin Chunkin event and for any insurance not related to a
specific event, including but not limited to any instructions or efforts to obtain
additional secured status for any third party. '

2. Any correspondence, documents, notes, policies, communications, and/or
files between your agency and any insurance company, other broker, any other
third party, etc. regarding World Championship Punkin Chunkin Association,
World Champion Punkin Chunkin Inc., Punkin Chunkin Association, Frank
Peyton, Franl< Shade, Terry Brewster and/or David Quigley, regarding securing
insurance for the 2016 World Championship Punkin Chunkin event and for any
insurance not related to a specific event, including but not limited to any
instructions or efforts to obtain additional secured status for any third party.

 

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AO 888 (Rev 02/14) Subpoena to Producc Dccuments, Information, or Objects otto Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a`
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or -
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For other Discovery. A subpoena may command:

(A) production ofdocuments, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regulle transacts business in person; and

(B) inspection of premises at the premises to be inspected

(`d) Protecting a l’erson Subject to a Subpoena; Enforcemcnt.

(l) Avoiding Undue Burden or Expense; Sanctz'ons. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction-which may include
lost earnings and reasonable attorney’s fees-on a party or attorney who
fails to comply.

(2) Command to produce Materials or Permit Inspeclion.

(A) Appearance Not Required A person commanded to produce
documents, electronically stored infomration, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objection.s' A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is scrved. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving `party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only ns directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance

(3) Quashing or Modrffying a Subpoemr.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(0); _

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burdcn.

(B) When Permit!ed. To protect a person subject to or affected by a
subpoena, the court for thé` district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secreth other confidential research,
development, or commercial information; or

For access to subpoena materials, see Fed R. Civ. P 45(a) Commrttee Note (2013)

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specij_'ying Conditions as an Altematlve. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated

(e) Duties in Rcspondiug to a Subpoena.

(l) Producing Documents or Elec¢ranically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documems A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand

(B) Formfor Producing Electronically Stored Information Not Speci/ied
if a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Eleclronically Stored Injbrmallon Produced in OnIy One Formi The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Eleclronically Slored lnformation. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Prolec¢ian.

(A) Infonnation Withheld. A person withholding subpoenaed information
under a claim that it is privileged cr subject to protection as trial~preparatron
material must:

(i) expressly make the claim, and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) lnformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial~preparation materia|, the person making the claim may notify any party
that received the information of the claim and the basis for it. Atter being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information imtil the claim is
resolved

(g) Contempt.

The court for the district where compliance is required-and also, after a
motion is transferrcd, the issuing court-may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

